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EXHIBIT I
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AO 106 (Rev. 04/10) Application for a Search Warrant Us DISTRICT COURT
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UNITED STATES DISTRICT COURT PRED
for the 201 APR LT PMS: ht
District of Vermont CLERK
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DEPUTY GEER

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

90 Mail Parcels,
more particularly described in Attachment A.

Case No. 2:18-MJ-34

APPLICATION FOR A SEARCH WARRANT

I, a federal Jaw enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
Property to be searched and give its location):

See Attachment A.

located in the District of _ Vermont , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Wf evidence of a crime;
wt contraband, fruits of crime, or other items illegally possessed;
of property designed for use, intended for use, or used in committing a crime;
1 aperson to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. §§ 841(a)(1) & 846 — Possessing with intent to distribute, distributing, and conspiring to possess with
intent to distribute and to distribute, controlled substances.

The application is based on these facts:
See attached Affidavit.

wo Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: _ _ is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Applicant's “Signature

Jonathan Dunham, U.S. Postal Inspector _

Printed name and title

Sworn to before me and signed in my presence.

Date: (D a [1 [20 CS

City and state: Burlington, Vermont _ Hon. John M. Conroy, U.S. Magistrate Judge
Printed name and title

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AFFIDAVIT
I, Jonathan Dunham, after being duly sworn, depose and state as follows:

INTRODUCTION AND BACKGROUND

1. Iam a Postal Inspector employed by the U.S. Postal Inspection Service and assigned to the
Boston Division. The Boston Division has responsibility for Postal Inspection Service
investigations in Massachusetts, New York, Vermont, Connecticut, New Hampshire, Maine,
and Rhode Island. I have been employed by the Inspection Service for one year, and am
currently assigned to the Burlington, Vermont Domicile.

2. lam an investigative or law enforcement officer of the United States within the meaning of
18 U.S.C. §2510(7), in that I am empowered by law to conduct investigations and to make
arrests for federal offenses.

3. My training and experience includes a Bachelor of Science degree in Criminal Justice, a
Bachelor of Art degree in Psychology, a certificate in Homeland Security, and a Master’s
degree in Criminal Justice from Westfield State University; Postal Inspector Basic Training
at Potomac, Maryland; and Postal Inspector Post-Basic Training at Burlington, Vermont.
During the course of my employment with the Postal Inspection Service, I have conducted or
participated in criminal investigations, including incidents where the U.S. Mail was used for
the purpose of possessing with intent to distribute, distributing, and conspiring to possess
with intent to distribute and to distribute, controlled substances, in violation of Title 21,
U.S.C. §§ 841(a)(1) and 846.

4, The information contained in this affidavit is based upon my personal observations, my

training and experience, my own investigation, and the investigation of other law

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enforcement officers, including but not limited to, Homeland Security Investigations (HSD
Agent Jamie West, with whom I have consulted.

Because this affidavit is submitted for the limited purpose of establishing probable cause in
support of the application for the search warrant, it does not set forth every fact that I or
others have learned during the course of this investigation.

ITEMS TO BE SEARCHED

. I submit this affidavit in support of an application for a warrant to search the following

parcels (hereinafter referred to as the Subject Parcels):

e USS. Priority Mail parcel number 9505516135078093209376, mailed to “Keith Bustard,
109 W. Holston Ave APT 1, Johnson City, TN 37604-5555,” from sender “David
Gagnon, 504 Railroad Street, Bethlehem, NH 03574” (“Subject Parcel #1”), for evidence
or instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#1 weighs 0 pounds, 3 ounces and is further described in Attachment A.

e USS. Priority Mail parcel number 9505516135078093209345, mailed to “Chris Brendler,
3160 Lawndale Rd, Finksburg, MD 21048,” from sender “David Gagnon, 504 Railroad
Street, Bethlehem, NH 03574” (“Subject Parcel #2”), for evidence or instrumentalities of
violations of Title:21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #2 weighs 0 pounds,
3 ounces and is further described in Attachment A.

e U.S. Priority Mail parcel number 9505516135078093209338, mailed to “Marshall
Letchworth, 635 Madison 3225, Witter, AR 72776,” from sender “David Gagnon, 504
Railroad Street, Bethlehem, NH 03574” (“Subject Parcel #3”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel

#3 weighs 0 pounds, 3 ounces and is further described in Attachment A.

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U.S. Priority Mail parcel number 9505516135078093209390, mailed to “Samuel Hingst,
12 Roseville Rd, Westport, CT 06880,” from sender “David Gagnon, 504 Railroad Street,
Bethlehem, NH 03574” (“Subject Parcel #4”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #4 weighs 0 pounds,
3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505516135078093209352, mailed to “John Driscoll,
147 Wallins Corners Rd: APT 9, Amsterdam, NY 12010” from sender “David Gagnon,
504 Railroad Street, Bethlehem, NH 03574” (“Subject Parcel #5”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#5 weighs 0 pounds, 3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505516135078093209369, mailed to “Jay Smith, 606
Cherry St, Janesville, WI 53548” from sender “Kenneth Leavitt, 18 Oak Hill Ave APT 2,
Littleton, NH 03561” (“Subject Parcel #6”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #6 weighs 0 pounds,
3 ounces and is further described in Attachment A.

USS. Priority Mail parcel number 9505516135078093209406, mailed to “Ryan Angelone,
26 Balance Rock Rd. APT 17” from sender “Kenneth Leavitt, 18 Oak Hill Ave APT 2,
Littleton, NH 03561” (“Subject Parcel #7”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #7 weighs 0 pounds,
3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505516135078093209383, mailed to “John Kvicky,
1341 Hast Avenue APT 2F, Berwyn, IL 60402-4486” from sender “Kenneth Leavitt, 18

Oak Hill Ave APT 2, Littleton, NH 03561” (“Subject Parcel #8”), for evidence or

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instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#8 weighs 0 pounds, 3 ounces and is further described in Attachment A.

U.S. First-Class parcel number 9500116135078093209434, mailed to “Matthew
McElyea, 1475 Georgetown Road, Christiana, PA 17509” from sender “Kenneth Leavitt,
18 Oak Hill Ave APT 2, Littleton, NH 03561” (“Subject Parcel #9”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841 (a)(1), and 846. Subject Parcel
#9 weighs 0 pounds, 1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500116135078093209472, mailed to “John Driscoll, 147
Wallins Corners Rd. APT 9, Amsterdam, NY 12010” from sender “Kenneth Leavitt, 18
Oak Hill Ave APT 2, Littleton, NH 03561” (“Subject Parcel #10”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#10 weighs 0 pounds, 1 ounce and is further described in Attachment A.

ULS. First-Class parcel number 9500116135078093209427, mailed to “Scott Hayes, 5406
Plantation Pine Dr. Knoxville, TN 37921” from sender “Kenneth Leavitt, 18 Oak Hill
Ave APT 2, Littleton, NH 03561” (“Subject Parcel #11”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#11 weighs 0 pounds, 1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500116135078093209489, mailed to “Cory Meunier,
1231 Hemlock Drive, Southaven, MS 38671” from sender “Kenneth Leavitt, 18 Oak Hill
Ave APT 2, Littleton, NH 03561” (“Subject Parcel #12”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel

#12 weighs 0 pounds, 1 ounce and is further described in Attachment A.

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U.S. First-Class parcel number 9500116135078093209465, mailed to “Francisco Cemas,
1626 W. 38th St. Los Angeles, CA 90062” from sender “Kenneth Leavitt, 18 Oak Hill
Ave APT 2, Littleton, NH 03561” (“Subject Parcel #13”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#13 weighs 0 pounds, 1 ounce and is further described in Attachment A.

USS. First-Class parcel number 9500116135078093209458, mailed to “Jonah Crema, 70
Everett Ave, Providence RI 02906-4207” from sender “Kenneth Leavitt, 18 Oak Hill Ave
APT 2, Littleton, NH 03561” (“Subject Parcel #14”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #14 weighs 0 pounds,
1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500116135078093209441, mailed to “Steve Moore, 527
Cedar St. APT 4, San Antonio, TX 78210” from sender “Kenneth Leavitt, 18 Oak Hill
Ave APT 2, Littleton, NH 03561” (“Subject Parcel #15”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#15 weighs 0 pounds, 1 ounce and is further described in Attachment A.

USS. First-Class parcel number 9500116135078093209410, mailed to “Andy Siks, 10
Kent Way, Byfield, MA 01922” from sender “Kenneth Leavitt, 18 Oak Hill Ave APT 2,
Littleton, NH 03561” (“Subject Parcel #16”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #16 weighs 0 pounds,
1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500116135078093209496, mailed to “Zach Huevel, 165
Mary Street, Gray, TN 37615” from sender “Kenneth Leavitt, 18 Oak Hill Ave APT 2,

Littleton, NH 03561” (“Subject Parcel #17”), for evidence or instrumentalities of

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violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #17 weighs 0 pounds,
1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500112967718093117881, mailed to “Zac Robinson,
4012 Churchill Dr. Flower Mound, TX 75028” from sender “James Weiss 2170 RT 114,
Hast Burke, VT 05832” (“Subject Parcel #18”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #18 weighs 0 pounds,
0.4 ounces and is further described in Attachment A.

USS. First-Class parcel number 9500112967718093117911, mailed to “Joseph Wyman
974 Waverly Way NE, Atlanta, GA 30307” from sender “James Weiss 2170 RT 114,
East Burke, VT 05832” (“Subject Parcel #19”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #19 weighs 0 pounds,
0.4 ounces and is further described in Attachment A.

USS. First-Class parcel number 9500112967718093117904, mailed to “Elliott Hoth, 7777
St. RT 30, Paul Smiths, NY 12970” from sender “James Weiss 2170 RT 114, East Burke,
VT 05832” (“Subject Parcel #20”), for evidence or instrumentalities of violations of Title
21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #20 weighs 0 pounds, 0.7 ounces and is
further described in Attachment A.

USS. First-Class parcel number 9500112967718093117935, mailed to “Guest Craig
Davies 4000 Summit Blvd, Atlanta, GA 30319” from sender “James Weiss 2170 RT 114,
East Burke, VT 05832” (“Subject Parcel #21”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #21 weighs 0 pounds,

0.5 ounces and is further described in Attachment A.

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U.S. First-Class parcel number 9500112967718093117973, mailed to “John Byard, P.O.
Box 581 Ames, JA 50010” from sender “James Weiss 2170 RT 114, Bast Burke, VT
05832” (“Subject Parcel #22”), for evidence or instrumentalities of violations of Title 21
U.S.C. §§ 841(a)(1), and 846. Subject Parcel #22 weighs 0 pounds, 0.5 ounces and is
further described in Attachment A.

U.S. First-Class parcel number 9500112967718093117966, mailed to “Adam
Mesenbrink, 22 W. Center St. #1306, Orem, UT 84057” from sender “James Weiss 2170
RT 114, East Burke, VT 05832” (“Subject Parcel #23”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846, Subject Parcel #23 weighs 0
pounds, 0.4 ounces and is further described in Attachment A.

U.S. First-Class parcel number 9500112967718093117959, mailed to “Corey Soto, 127
South Main Street, South Toms River, NJ 08757” from sender “James Weiss 2170 RT
114, East Burke, VT 05832” (“Subject Parcel #24”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #24 weighs 0 pounds,
0.5 ounces and is further described in Attachment A.

U.S. First-Class parcel number 9500112967718093117898, mailed to “Brandon Zarillo,
12633 SE 102nd Ave, Belleview, FL 34420” from sender “James Weiss 2170 RT 114,
East Burke, VT 05832” (“Subject Parcel #25”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #25 weighs 0 pounds,
0.6 ounces and is further described in Attachment A.

US. First-Class parcel number 9500112967718093117928, mailed to “G. Khale, 1501
Atlas Rd, Wheeling, WV 26003” from sender “James Weiss 2170 RT 114, East Burke,

VT 05832” (“Subject Parcel #26”), for evidence or instrumentalities of violations of Title

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21 USS.C. §§ 841(a)(1), and 846. Subject Parcel #26 weighs 0 pounds, 0.5 ounces and is
further described in Attachment A.

U.S. First-Class parcel number 9500112967718093117942, mailed to “Derick Robinson,
113 Victor Ct, APT 3, Greer, SC 29651” from sender “James Weiss 2170 RT 114, Hast
Burke, VT 05832” (“Subject Parcel #27"), for evidence or instrumentalities of violations
of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #27 weighs 0 pounds, 0.4
ounces and is further described in Attachment A.

US. Priority Mail parcel number 9114901159818561693971, mailed to “Jones
Baranowski, 1318 Pickens Street APT A2, Columbia, SC 29201” from sender “David
Jensen, 130 Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #28”), for evidence
ot instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#28 is further described in Attachment A.

U.S. Priority Mail parcel number EG747708391US, mailed to “Tee Chang, 502 N. 9th
St, Collinsville, OK 74021” from sender “David Jensen, 130 Harvey St, Saint Johnsbury,
VT 05819” (“Subject Parcel #29”), for evidence or instrumentalities of violations of Title
21 ULS.C. §§ 841(a)(1), and 846. Subject Parcel #29 weighs 0 pounds, 2.0 ounces is
further described in Attachment A.

US. First-Class parcel number 9114901496451814207778, mailed to “Adam Westman,
106 W. Minnesota St, Brookhaven, MS 39601” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #30”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #30 is further

described in Attachment A.

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U.S. First-Class parcel number 9114901496451814207754, mailed to “Andrew Grohs,
809 N, West Ave APT 118, Sioux Falls, SD 57104-5734” from sender “David Jensen,
130 Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #31”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#31 is further described in Attachment A.

U.S. First-Class parcel number 9114901496451814207693, mailed to “Lewis Brill, 3 Oak
Ridge Court, Voorhees, NJ 08043” from sender “David Jensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #32”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #32 is further
described in Attachment A.

U.S. First-Class parcel number 9114901496451814207730, mailed to “Mile Jones, 5415
Sasha Court, Williamsburg, VA. 23188” from sender “David Jensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #33”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #33 is further
described in Attachment A.

US. First-Class parcel number 9114901496451814207716, mailed to “Adam Westman,
106 W. Minnesota St, Brookhaven, MS 39601” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #34”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #34 is further
described in Attachment A.

USS. First-Class parcel number 9114901496451814207594, mailed to “Cody Smith, 4902
N. Macdill Ave APT 1916, Tampa FL 33614-8203” from sender “David Jensen, 130

Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #35”), for evidence or

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instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#35 is further described in Attachment A.

U.S. mailed envelope, mailed to “Gary Goode, P.O. Box 1073 Covington, VA 24426-
5073” from sender “David Jensen, 130 Harvey St, Saint Johnsbury, VT 05819” (“Subject
Parcel #36”), for evidence or instrumentalities of violations of Title 21 US.C. §§
841(a)(1), and 846. Subject Parcel #36 is further described in Attachment A.

U.S. mailed envelope, mailed to “Evan Gnagey, 17036 S Haden Rd, Oregon City, OR.
97045-8673” from sender “David Jensen, 130 Harvey St, Saint Johnsbury, VT 05819”
(“Subject Parcel #37”), for evidence or instrumentalities of violations of Title 21 U.8.C.
§§ 841(a)(1), and 846, Subject Parcel #37 is further described in Attachment A.

U.S. mailed envelope, mailed to “Anthony Awaida, P.O, Box 932, Palo Alto, CA 94302”
from sender “David Jensen, 130 Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel

#38”), for evidence or instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and

. 846, Subject Parcel #38 is further described in Attachment A.

U.S. First-Class parcel number 9114901496451814207228, mailed to “Jacob Averbuck,
628 Waverley St. #C, Palo Alto, CA 94301” from sender “James B. Weiss 2170 Rte. 114,
Bast Burke, VT 05832” (“Subject Parcel #39”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #39 is further
described in Attachment A.

U.S. Priority Mail parcel number 9505510122678085228190, mailed to “Sam Bent, P.O.
Box 22, Rast Burke, VT 05832” from sender “John Pearson 9040 W. End Rd, Arcata, CA

95521” (“Subject Parcel #40”), for evidence or instrumentalities of violations of Title 21

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U.S.C. §§ 841(a)(1), and 846. Subject Parcel #40 weighs 1 pound 11 ounces and is!
farther described in Attachment A.

U.S. Priority Mail parcel number 9505514104898094220639, mailed to “Sam Bent, P.O.
Box 22, East Burke, VT 05832” from sender “Derek Balmer, 1978 Ward St, Arcata, CA
95521” (“Subject Parcel #41”), for evidence or instrumentalities of violations of Title 21
U.S.C. §§ 841(a\(1), and 846, Subject Parcel #41 weighs | pound 12 ounces and is
further described in Attachment A.

U.S. mailed envelope number RRRI1I18395893PL, mailed to “Sam Bent, P.O, Box 22,
East Burke, VT 05832” from sender “Yanexus sp. Zo.o, UL Wyzwolenia 122b, 85-790
Bydgoszcz, Poland” (‘Subject Parcel #42”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #42 is further
described in Attachment A.

U.S. Priority Mail parcel number 91149999443 14090368870, mailed to “Sam Bent, P.O.
Box 22, East Burke, VT 05832” from sender “John Iglesias, 370 9th Ave, San Francisco,
CA 94114” (“Subject Parcel #43”), for evidence or jnstrumentalities of violations of Title
21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #43 is further described in Attachment
A.

U.S. Priority Mail-parcel number 9114999944313576780892, mailed to “Sam Bent, P.O.
Box 22, East Burke, VT 05832” from sender “Full 0” Life, 2515 W. Magnolia Blvd,
Burbank, CA 91505-3030” (“Subject Parcel #44”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #44 weighs 3 pounds

0 ounces and is further described in Attachment A.

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© U.S. mailed envelope number RRR148158646PL, mailed to “Sam Bent, P.O. Box 22, i

East Burke, VT 05832” from sender “Xantum, Kopernika 9a, 05-120 Legionowo,
Poland” (“Subject Parcel #45”), for evidence or instrumentalities of violations of Title 21
U.S.C. §§ 841(a)(1), and 846. Subject Parcel #45 is further described in Attachment A.
US. First-Class parcel number 9114901496451814207532, mailed to “Walter Karlins
6614 Stirrup Ct, Eldersburg, MD 21784” from sender “James B. Weiss 2170 Rte. 114,
Fast Burke, VT 05832” (“Subject Parcel #46”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #46 is further
described in Attachment A.

U.S. First-Class parcel number 9114901496451814207280, mailed to “Sean Michael,
489 Cardinal Road, Barnwell, SC 29812” from sender “James B. Weiss 2170 Rte. 114,
East Burke, VT 05832” (“Subject Parcel #47”), for evidence or instramentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #47 is further
described in Attachment A.

U.S. First-Class parcel number 9114901496451814207273, mailed to “Ian Karoway, 220
South Quinsigamond Ave, Shrewsbury, MA 01545” from sender “James B. Weiss 2170
Rte. 114, East Burke, VT 05832” (“Subject Parcel #48”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#48 is further described in Attachment A.

U.S. First-Class parcel number 9114901496451814207518, mailed to “Joseph Wyman,
974 Waverly Way NE, Atlanta, GA 30307” from sender “James B, Weiss 2170 Rte. 114,

Fast Burke, VT 05832” (“Subject Parcel #49”), for evidence or instrumentalities of

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violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #49 is further
described in Attachment A.

U.S. First-Class parcel number 9114901496451814207556, mailed to “Elijah Joshua
Mizell, 8330 Vietor Ave APT 214, Elmhurst, NY 11373” from sender “James B. Weiss
2170 Rte. 114, East Burke, VT 05832” (“Subject Parcel #50”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#50 is further described in Attachment A.

USS. First-Class parcel number 9114901496451814207570, mailed to “Kenneth Mooney,
1256 State Route 31, Lebanon, NI 08833-3238” from sender “James B. Weiss 2170 Rte.
114, Hast Burke, VT 05832” (“Subject Parcel #51”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841 (a)(1), and 846. Subject Parcel #51 is further
described in Attachment A.

U.S. First-Class parcel number 9114901496451814207259, mailed to “Brawley Patton,
1020 East 45th Street APT 103, Austin, Texas 78751” from sender “James B. Weiss
2170 Rte. 114, East Burke, VT 05832” (“Subject Parcel #52”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#52 is further described in Attachment A.

U.S. First-Class parcel number 9114999944314728128791, mailed to “Harrison Reid,
5001 Alpine Ridge Dr. Columbia, MO 65202-9824” from sender “David Jensen, 130
Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #53”), for evidence or
instrumentalities of violations of Title 21,U.S.C. §§ 841(a)(1), and 846. Subject Parcel

#53 is further described in Attachment A.

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e USS. First-Class parcel number 9114999944314728128821, mailedto “Vadim |

Gaponenko, Box 2196, 200 Campus Dr. Grove City College, Grove City, PA 16127”
from sender “Shawn Larocque, 1536 Old Silo Rd, Saint Johnsbury, VT 05819” (“Subject

Parcel #54”), for evidence or instrumentalities of violations of Title 21 U.S.C. §§

-841(a)(1), and 846. Subject Parcel #54 is further described in Attachment A.

U.S. First-Class parcel number 9114999944314728128807, mailed to “Edwin Cornejo
43185 Katama SQ, Chantilly, VA 20152-4417” from sender “Shawn Larocque, 1536 Old
Silo Rd, Saint Johnsbury, VT 05819” (“Subject Parcel #55”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#55 is further described in Attachment A.

U.S. First-Class parce] number 9114999944314728128838, mailed to “Matt Sussdorff,
4095 New London Rd, Forest, VA 24551” from sender “Shawn Larocque, 1536 Old Silo
Rd, Saint Johnsbury, VT 05819” (“Subject Parcel #56”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #56 is further
described in Attachment A.

U.S. First-Class parcel number 9114999944314728128814, mailed to “Doriano, 138-12
28th Rd, Flushing, NY 11354” from sender “Shawn Larocque, 1536 Old Silo Rd, Saint
Johnsbury, VT 05819” (“Subject Parcel #57”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #57 is further
described in Attachment A.

U.S. Priority Mail parcel number 9505515375968099094337, mailed to “Pat Gordon, 144
McCullough Road, Mocksville, NC 27028” from sender “David Jensen, 130 Harvey St,

Saint Johnsbury, VT 05819” (“Subject Parcel #58”), for evidence or instrumentalities of

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violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #58 weighs 0 pounds
3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505515375968099094351, mailed to “Alexander
Diya, 19 Brittany Ln. A03, Stuarts Draft, VA 24477” from sender “David Jensen, 130
Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #59”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#59 weighs 0 pounds 3 ounces and is further described in Attachment A,

USS. Priority Mail parcel number 9505515375968099094320, mailed to “Ilirik Smirnov,
617 B Sykes St, Chapel Hill, NC 27516” from sender ‘David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #60”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #60 weighs 0 pounds
3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505515375968099094344, mailed to “Tiffany Baker,
211 NE 34 CT, Oakland Park, FL 33334” from sender “David Jensen, 130 Harvey St,
Saint J ohnsbury, VT 05819” (“Subject Parcel #61”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846, Subject Parcel #61 weighs 0 pounds
3 ounces and is further described in Attachment A.

U.S, First-Class parcel number 9500115375968099094372, mailed to “Jacob Elliott,
1207 4th Ave APT 2, Rockford, IT, 61104” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #62”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #62 weighs 0 pounds

1 ounce and is further described in Attachment A.

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e US. First-Class parcel number 9500115375968099094365, tailed to “Cody Sechler 411

Patterson St, China Grove, NC 28023” from sender “David Jensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #63”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #63 weighs 0 pounds
2 ounces and is further described in Attachment A.

USS. First-Class parcel number 9500115375968099094389, mailed to “Jeff Kidd, 8902
Venezia Plantation Dr, Orlando, FL 32829-8109” from sender “David Jensen, 130
Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #64”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846, Subject Parcel
#64 weighs 0 pounds 1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500115375968099094396, mailed to “Andrew Cassady,
1226 N 46th Ave E, Duluth, MN 55804” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #65”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #65 weighs 0 pounds
1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500115375968099094402, mailed to “Ryan Oas, 111980
Riverview Rd. NE, Hanover, MN 55341” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (‘Subject Parcel #66”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #66 weighs 0 pounds
1 ounce and is further described in Attachment A.

U.S. Priority Mail parcel number 9114901496451814207792, mailed to “Nicholas Gill,
P.O. Box 7159, Tempe, AZ, 85281” from sender “David Jensen, 130 Harvey St, Saint

Johnsbury, VT 05819” (“Subject Parcel #67”), for evidence or instrumentalities of

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violations of Title 21 UiS.C, §§ 841(a)(1), and 846. Subject Parcel #67 is further
described in Attachment A.

U.S. Priority Mail parcel number 9114901496451814207815, mailed to “Frank Leary, 67
Bber Ave, Akron, OH 44305” from sender “David Jensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #68”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #68 is further
described in Attachment A.

U.S. Priority Mail parcel number 9114901496451814207839, mailed to “Lamar Gibson,
55 Harrison Circle, Covington, GA 30016” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #69”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #69 is further
described in Attachment A.

USS. First-Class parcel number 9114901496451814207891, mailed to “Shawn
Backwood, 2904 E. Lousville St, Broken Arrow, OK 74014” from sender “David Jensen,
130 Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #70”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#70 is further described in Attachment A.

U.S. First-Class parcel number 9114901496451814207952, mailed to “Andrew Kaye,
439 Springwater Ln, New Canaan, CT 06840” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #71”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #71 is further

described in Attachment A.

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e US. First-Class parcel number 9114901496451814207914, mailed to “Joseph Calvin,
160 N. Ross Street APT #1326)” from sender “David Jensen, 130 Harvey St, Saint
Jobnsbury, VT 05819” (“Subject Parcel #72”), for evidence or instrumentalities of
violations of Tifle 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #72 is further
described in Attachment A.

e USS. First-Class parcel number 9114901496451814207877, mailed to “Eduardo
Calderon, 8 Daisy Lane, Weedsport, NY 13166” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #73”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #73 is further
described in Attachment A.

e USS. First-Class parcel number 9114901496451814207938, mailed to “Ryan Fees, 1342
Seneca St, Pottsville, PA 17901” from sender “David Jensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #74”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846, Subject Parcel #74 is further
described in Attachment A.

s US. First-Class parcel number 9114901496451814207853, mailed to “Bob Griffin, 2005
Greenbrier Blvd #16, Clearwater, FL 33760” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #75”), for evidence or instrumentalities of
violations of Title 21 ULS.C. §§ 841(a)(1), and 846. Subject Parcel #75 is further
described in Attachment A.

» U.S. First-Class parcel number 9114901496451814207976, mailed to “Stephen Cox,
9240 E Hillery Way, Scottsdale, AZ 85260” from sender “David Jensen, 130 Harvey St,

Saint Johnsbury, VT 05819” (“Subject Parcel #76”), for evidence or instrumentalities of

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violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #76 is further
described in Attachment A.

US. First-Class parcel number 9114901496451814207990, mailed to “Blake A Smalley,
200 $ Jackson St, Cerro Gordo, IL 61818” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #77”), for evidence or instramentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #77 is further
described in Attachment A.

U.S. Priority Mail parcel number 9505515602868097140474, mailed to “Thomas Brown,
1155 Turkey Creek Rd, Langley, KY 41645” from sender “David Jensen, 130 Harvey St,
Saint Johnsbury, VT 05819” (“Subject Parcel #78”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #78 weighs 0 pounds
6 ounces and is further described in Attachment A,

U.S. Priority Mail parcel number 9505515602868097140467, mailed to “Chris Sewell,
4125 Henry Knox Way, Knoxville, TN 37920” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #79”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #79 weighs 0
pounds 3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505515602868097140450, toailed to “Harrison Reid
5001 Alpine Ridge Dr. Columbia, MO 65202” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #80”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #80 weighs 0

pounds 3 ounces and is further described in Attachment A.

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© US. Priority Mail parce! number 9505515602868097140443, mailed to “Andrew De

Large, 6680 Sabado Tarde Rd, Unit B, Santa Barbara, CA 93117” from sender “David
Jensen, 130 Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #81”), for evidence
ot instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#81 weighs 0 pounds 3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505515602868097140429, mailed to “Foster Smith,
301 W. Hampton Ave, Honea Path, SC 29654” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #82"), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841 (a)(1), and 846. Subject Parcel #82 weighs 0
pounds 3 ounces and is further described in Attachment A.

U.S. Priority Mail parcel number 9505515602868097140436, mailed to “William
Thompsen, 6086 Netherton St, Centreville, VA 20120-3228” from sender “David Jensen,
130 Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #83”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#83 weighs 0 pounds 3 ounces and is further described in Attachment A.

U.S. First-Class parcel number 9500115602868097140518, mailed to “Dylan Van
Wingerden, 1304 S Denver Ave, Boise, Idaho 83706” from sender “David Jensen, 130
Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #84’), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#84 weighs 0 pounds 1 ounce and is further described in Attachment A.

U.S. mailed envelope, mailed to “Jonathan Cleveland, 115 W. Monument Ave. #101

Dayton, OH 45402” from sender “David Jensen, 130 Harvey St, Saint Johnsbury, VT

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05819” (“Subject Parcel #85”), for evidence or instrumentalities of violations of Title 21
U.S.C, §§ 841 (a)(1), and 846. Subject Parcel #85 is further described in Attachment A.
USS. First-Class parcel number 9500115602868097140501, mailed to “Devin Francois,
132 South Main Street APT 1, Ellenville, NY 12428” from sender “David Jensen, 130
Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #86”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel
#86 weighs 0 pounds 1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500115602868097140495, mailed to “Thomson Yeh,
Human Dx, 2700 19th St, San Francisco, CA 94110” from sender “David Jensen, 130
Harvey St, Saint Johnsbury, VT 05819” (“Subject Parcel #87”), for evidence or
instrumentalities of violations of Title 21 USC. §§ 841(a)(1), and 846, Subject Parcel
#87 weighs 0 pounds 1 ounce and is further described in Attachment A.

U.S. First-Class parcel number 9500115602868097140488, mailed to “Matt Davis, PO
Box 1040, Centreville, VA 20122” from sender “David Jensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #88"), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #88 weighs 0 pounds
1 ounce and is further described in Attachment A,

USS. First-Class parce] number 9500115602868097140532, mailed to “Brandy
Vanhyning, 316 E Center St, Loraine, IL 62349” from sender “David Jensen, 130 Harvey
St, Saint Johnsbury, VT 05819” (“Subject Parcel #89”), for evidence or instrumentalities
of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #89 weighs 0

pounds 1 ounce and is further described in Attachment A.

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e US. First-Class parcel number 9500115602868097140549, mailed to “Delfin Paris, 333
West Hubbard 2J, Chicago, IL 60654” from sender “David J ensen, 130 Harvey St, Saint
Johnsbury, VT 05819” (“Subject Parcel #90”), for evidence or instrumentalities of
violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #90 weighs 0 pounds
1 ounce and is further described in Attachment A.

7. The parcels are presently in the possession of the U.S. Postal Inspection Service at 8 New

England Drive, Essex Junction, VT 05452

PROBABLE CAUSE

8. On April 3, 2018, I executed an affidavit in support of a parcel search warrant. A copy of
that Affidavit is attached hereto as Exhibit 1, and incorporated herein. As Exhibit 1,
explained, the residence located at 3585 Darling Hill Road, East Burke, Vermont, appeared
to be associated with illegal shipments of controlled substances.

9. Exhibit 1 suggested that Djeneba Bent appeared to reside at the Darling Hill residence, and
had recently engaged in the attempted distribution of controlled substances through the
United States mail while living there. In addition to the information contained in Exhibit 1,
evidence of Djeneba Bent residing at the property also included:

a. During my examination of trash from the property described in Exhibit 1 at
paragraph 13, I also observed domestic mail parcels addressed to “Sam Bent P.O.
Box 22 East Burke, VT 05832”, “Sam Bent 3585 Darling Hill Road East Burke, VT
05832”, and “The Lovely Djeneba Bent P.O. Box 22 East Burke, VT 05832-0022”.

b. Agent West also observed the RI-registered Accord which Djeneba Bent drove to
deliver the mail parcels to the Littleton, NH Post Office as described in Exhibit 1 at

patagraph 15, at the property on the following dates and times: March 19, 2018 at

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approximately 4:30 pm., March 20, 2018 at approximately 1:00 p.m., March 30, 2018

at approximately 3:30 p.m., and on April 5, 2018 at approximately 5:00 a.m.

10. On April 10, 2018, HSI executed a search warrant issued by this Court in connection with
this investigation at the residence located at 3585 Darling Hill Road, East Burke, Vermont.
During the execution of the search HSI encountered Djeneba Bent, as well as a male
identified as Sam Bent. Sam and Djeneba Bent stated they are cousins. During an interview
with Sam Bent on April 10, 2018, Bent advised HSI Special Agent West that Bent was
involved in the online ordering and distribution of various controlled substances, including
cocaine, MDMA, and others. He subsequently confirmed to HSI agents that Djeneba Bent
regularly shipped the packages containing the substances Sam Bent was distributing through
the United States Mail. Sam Bent did not confirm that Djeneba Bent was aware of the
contents of these packages.

11. Pursuant to the warrant that issued pursuant to the application of which Exhibit 1 was a part,
a total of six parcels were searched. Five of the packages were found to contain suspected
controlled substances and one contained what is believed to be homemade alcohol or
moonshine, The contents of each parcel is described below.

a. Subject Parcel #1 was found to contain a white mylar bag labeled “Dried Organic
Fruit”. This bag was found to contain a vacuum sealed bag which contained
approximately 3.7 grams of green leafy substance that field tested positive for
marijuana.

b. Subject Parcel #2 was found to contain a white mylar plastic bag labeled “Organic

Dried Fruit”. This bag was found to contain a vacuum sealed bag containing

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approximately 1.9 grams of a thick brown substance that field tested positive for
marijuana.

c. Subject Parcel #3 was found to contain a white mylar bag labeled “Dried Organic
Fruit”. This bag was found to contain a vacuum sealed bag containing approximately
1.9 grams of a light colored powdery substance that based on color, texture and
packaging, was suspected to be heroin.

d. Subject Parcel #4 was found to contain two mason jars containing suspected.
homemade alcohol.

e. Subject Parcel #5 was found to contain a white mylar bag labeled “Dried Organic
Fruit”. This bag was found to contain a vacuum sealed bag containing 4.4 grams of a
green leafy substance that field tested positive for marijuana.

f. Subject Parcel #6 was found to contain a white mylar bag labeled “Dried Organic
Fruit”. This bag was found to contain a vacuum sealed bag containing 3.2 grams of a
green leafy substance that is suspected to be marijuana.

12. Ihave also learned that the LSD ordered online and received by an HSI agent in New York,
as described in Exhibit 1 at paragraph 17, was contained in an envelope with the "Organic
dried fruit" labeling, similar to what was found in 5 of the 6 packages described above. As
mentioned in Exhibit 1, that LSD purchase was paid for using Bitcoin as payment. As

Exhibit 1 explains in paragraph 16, the Property is also associated with a Post Office Box 22,

1 On April 10, 2018, HSI Agent West -showed a picture of the contents of above-referenced
Subject Parcel #3 to Sam Bent. Bent identified it as powder MDMA (known to me to be a slang
term for Methylenedioxymethamphetamine, a controlled substance). Agent also advised the
substance in this parcel also matched in appearance a substance found at Bent's residence which

later field tested positive for MDMA.

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East Burke, Vermont, to which international packages had recently been addressed, and
which appeared to contain heroin (per positive field test) 2

13. As explained in Exhibit 1, at paragraph 14, on March 28, 2018, a photograph of Djeneba
Bent was circulated to Postmasters in northern Vermont.

14. On April 03, 2018, Postmaster John Robie of the Littleton, NH Post Office reported that
Djeneba Bent came into the post office and mailed multiple parcels, described further in
Attachment A as subject parcels 1-17. Clerk Nathan Morse was able to take a picture of
Djeneba Bent making the transaction.

15, On April 03, 2018, Clerk Lisa Smith at the Lyndonville, VT Post Office reported that
Djeneba Bent mailed 10 parcels, described further in Attachment A as subject parcels 18-27.

16. On April 05, 2018, Clerk Kristianne Liberty of the Lyndon, VT Post Office reported a
female who appeared to be the same female as in the circulated photograph of Djeneba Bent
mailed multiple parcels, described further in Attachment A as subject parcels 28-38.

17. On April 05, 2018, East Burke Postmaster Nancy Cote, reported subject parcel 39 was being
returned to sender and looked very similar to the parcels Djeneba Bent had been mailing.
The return address also matched one that Djeneba Bent had been using frequently. Cote also
reported subject parcels 40-45 as being addressed to Sam Bent at P.O. Box 22. On or about
April 10, 2018 Sam Bent informed Agent West that Bent was expecting a package from
Europe containing 162 grams of MDMA, a package from California containing 3 ounces of

cocaine, and a package from California containing 2 pounds of marijuana. On or about April

2 On April 10, 2018, Sam Bent informed Agent West that Bent believed this substance is hash
and denied buying or selling heroin.

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12, 2018, Agent West showed Sam Bent a photograph of Subject Parcel 45, and Bent said it
might be the shipment of MDMA.

18. On March 29, 2018, Cote reported that Clerk Traci McDowell of the West Burke, VT Post
Office told her Djeneba Bent mailed multiple parcels, described further in Attachment A as
subject parcels 46-52. Djeneba Bent was seen driving a vehicle with a Rhode Island license
plate number CN117.

19. On April 06, 2018, Clerk Lillian Jenks of the Lower Waterford, VT Post Office reported a
the woman who was in the circulated photograph of Djeneba Bent mailed multiple parcels on
April 5, described further in Attachment A as subject parcels 53-57. Jenks saw Djeneba Bent
driving a gray Honda with a Rhode Island plate CN117.

20. On April 09, 2018, Postmaster Diane McCoy of the Danville, VT Post Office reported the
same woman who had mailed the parcels described in paragraph 11 had mailed the parcels,
described further in Attachment A as subject parcels 58-66.

21. On April 09, 2018, Clerk Louonne Tomasko of the East Saint Johnsbury, VT Post Office
reported the woman who was in the circulated photograph of Djeneba Bent mailed multiple
parcels, described further in Attachment A as subject parcels 67-77.

22. On April 07, 2018, Supervisor Aaron Whitcomb of the Saint Johnsbury, VT Post Office
reported that Djeneba Bent mailed multiple parcels, described further in Attachment A as
subject parcels 78-90. Whitcomb also stated that Djeneba Bent was seen driving a silver
Honda Accord, with Rhode Island license plate number CN117.

23. I also know from my training and experience the following:

a. Drug traffickers mailing controlled substances frequently use U.S. Postal Service

Priority Mail Express and Priority Mail services to ship unlawful controlled

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substances, and the recipients of those unlawful drugs often use U.S. Postal Service
Priority Mail Express and Priority Mail services to ship the proceeds of the illegal
sale of controlled substances. These controlled substances and the proceeds of the
illegal sale of controlled substances are often found during parcel investigations and
interdictions.

b. Drug traffickers use U.S. Postal Service Priority Mail Express and Priority Mail
services because of the reliability of delivery, speed of delivery, low cost, the
customer’s ability to track the package’s shipment online, as well as the low risk of
detection by law enforcement. Shippers using Priority Mail Express and Priority
Mail services pay for the benefit of being able to confirm the delivery of the parcel by
checking the U.S. Postal Service internet website or calling a toll free number.

c. Drug traffickers who mail controlled substances, and the drug purchasers who send.
payment in the form of cash or other drugs, often use false or incomplete information
in labeling the parcels, as well as dated information. In this way, drug traffickers can
distance themselves from the package containing controlled substances or from the
proceeds of the sale of the controlled substances in the event the package is

intercepted by law enforcement.

CONCLUSION

24. I respectfully submit that, pursuant to 18 U.S.C. § 3103 a(b), there is “reasonable cause to
believe that providing immediate notification of the execution of the warrant may have an
adverse result.” Providing notice to the anticipated recipients of the Subject Parcels would
seriously jeopardize the ongoing investigation. Depending on the results of the search, law

enforcement will be considering an undercover delivery of one or more of the packages, and

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the possibility of additional search warrants. A disclosure would give subjects of the
investigation an opportunity to destroy evidence, change patterns of behavior, notify co-
conspirators, conduct financial transactions to hide assets, and/or flee from prosecution.

25. Itis further requested that the Court authorize execution of this warrant at any time of day or
night, as the Subject Parcels are in law enforcement custody.

26. Based on the foregoing, I believe that there is probable cause to search the six Subject
Parcels for evidence or instrumentalities of violations of 21 U.S.C. §§ 841(a)(1) and 846.

27. Dated at Burlington, in the District of Vermont, this 17" day of April 2018.

Pl

JONATHAN DUNHAM
Us. Postal Inspector

Subscribed and sworn to before me this 17" day of April 2018.

M. NRO
United States Magittra’
District of Vermont

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Erubit 1

AFFIDAVIT
1, Jonathan Dunham, after being duly sworn, depose and state as follows:

INTRODUCTION AND BACKGROUND

1. Lam a Postal Inspector employed by the U.S. Postal Inspection Service and
assigned to the Boston Division. The Boston Division has responsibility for Postal Inspection
Service investigations in Massachusetts, New York, Vermont, Connecticut, New Hampshire,
Maine, and Rhode Island. I have been employed by the Inspection Service for one year, and am
currently assigned to the Burlington, Vermont Domicile.

2. Lam an investigative or law enforcement officer of the United States within the
meaning of 18 U.S.C. §2510(7), in that Iam empowered by law to conduct investigations and to
make arrests for federal offenses.

3. My training and experience includes a Bachelor of Science degree in Criminal
Justice, a Bachelor of Art degree in Psychology, a certificate in Homeland Security, and a
Master’s degree in Criminal Justice from Westfield State University: Postal Inspector Basic
Training at Potomac, Maryland; and Postal Inspector Post-Basic Training at Burlington,
Vermont, During the course of my employment with the Postal Inspection Service, I have
conducted or participated in criminal investigations, including incidents where the U.S. Mail was
used for the purpose of possessing with intent to distribute, distributing, and conspiring to
possess with intent to distribute and to distribute, controlled substances, in violation of Title 21,
U.S.C. §§ 841(a}(1) and 846.

4, The information contained in this affidavit is based upon my personal

observations, my training and experience, my own investigation, and the investigation of other

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law enforcement officers, including but not limited to, Homeland Security Investigations (HSI)
Agent Jamie West; with whom I have consulted.

5. Because this affidavit is submitted for ‘the limited purpose of establishing
probable cause in support of the application for the search warrant, it does not set forth every fact
that I or others have learned during the course of this investigation.

ITEMS TO BE SEARCHED

6. I submit this affidavit in support of an application for a warrant to search the

following parcels (hereinafter referred to as the Subject Parcels) which were placed in the U.S.

mail at the Danville, VI Post Office on March 29, 2018:
a. U.S. First-Class parcel number 9500115375968088093256, mailed to

“Fred LeJeune, 1936 Lombard Street, New Orleans, LA 70122,” from sender “William Currier,
462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #1”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #1

weighs 0 pounds, 0.40 ounces and is further described in Attachment A.
b. U.S. First-Class parcel number 9500115375968088093270, mailed to

“Brian Carlberg, 12737 Saint Andrews Drive, Kansas City, MO 64145-1146” from sender
“William Currier, 462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #2”), for
evidence or instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject

Parcel #2 weighs 0 pounds, 0.40 ounces and is further described in Attachment A.
c. U.S. First-Class parcel number 9500115375968088093263, mailed to

“Kodus Hollon, 170 Ashley Creek Drive, Newnan, GA 30263” from sender “William Currier,

462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #3”), for evidence or

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instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #3

weighs 0 pounds, 0.40 ounces and is further described in Attachment A.
d. U.S. Priority Mail parcel number 9505515375968088093303, mailed to

“David Perez, 208 Cartwell Drive, Virginia Beach, VA 23452-1422,” from sender “William
Currier, 462 Railroad Street, Saint J ohnsbury, VT 05819” (“Subject Parcel #4”), for evidence or
instrumentalities of violations of Title 21 USC. §§ 841(a)(1), and 846. Subject Parcel #4
weighs 3 pounds, 14.20 ounces and is further described in Attachment A.

e. U.S. Priority Mail parcel number 9505515375968088093297, mailed to
“Alex Guariglia, 491 Vizeay Way, Davenport, FL 33837-2618,” from sender “William Currier,
462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #5”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #5
weighs 0 pounds, 2.60 ounces and is further described in Attachment A.

f. U.S. Priority Mail parcel number 9505515375968088093280, mailed to
“Jonathan Tipton, 426 Elgin Street, Mooringsport, LA 71060-8960,” from sender “William
Currier, 462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #6"), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #6
weighs 0 pounds, 2.60 ounces and is further described in Attachment A.

7. The parcels are presently in the possession of the U.S. Postal Inspection Service at

8 New England Drive, Essex Junction, VT 05452.
PROBABLE CAUSE

8. On March 30, 2018, Agent West relayed the following information to me as it

related to the case prior to my involvement:

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a. U.S. Postal Inspector Kristin Miller discovered, and informed Agent West
that a large quantity of U.S. Postal Service (USPS) Priority Mail shipping boxes had been
ordered and received at P.O. Box 22 at the East Burke, Vermont, Post Office (“P.O. Box 22”).
Based on my training and experience, I’m aware that shippérs of contraband items often order
shipping boxes through the mail. According to the application for P.O. Box 22, it is registered to
Tracy Baker of 3585 Darling Hill Road, East Burke, VT. The application also lists Sammy Bent,
Isabella Sepulveda-Muniz, Chelsea Baker, and Sammy Bent Jr. as additional names authorized
to accept mail at P.O. Box 22.

b. Baker listed a vehicle with a Vermont license plate DSK573 on the
application for P.O. Box 22. Based on Department of Motor Vehicle (“DMV”) records, Agent

West found that this vehicle is a 2013 Blue Honda CRV and is registered to Tracy Baker. Agent

West also obtained Baker’s DMV photograph,
c. On March 19, 2018, Agent West observed a Honda CRV matching the

description of Baker’s vehicle, and a Honda Accord with a RI license plate number CN117 in the

driveway of 3585 Darling Hill Road, East Burke, VT 05851.

d. On March 20, 2018, Agent West saw the Honda CRV.at the East Burke,
VT Post Office. He also saw a white female matching the description of Tracy Baker, based on
the review of Baker’s DMV photograph. Later that day he also observed the previously .
observed Honda Accord and Honda CRY at the same residence. Later that day, Agent West ~
spoke to Postmaster Nancy Cote at the East Burke, VT Post Office. Cote stated that P.O, Box 22
received multiple international and domestic parcels, The international parcels were small and
square while some of the domestic parcels were from California, and larger in size. Clerk Sean

O’Connor at East Burke, VT Post Office stated he did not see Tracy Baker mail any parcels from

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East Burke but saw her ship parcels at other Post Offices in the area. O’Conner primarily works
at the North Concord, VT Post Office and occasionally will assist in other offices such as, but
not limited to Lyndonville, VT; and East Burke, VT. Postmaster Cote stated she never saw Sam
Bent but she saw a woman who identified herself as the sister of Tracy Baker’s boyfriend. The
woman was described as possibly African American. Cote informed Agent West that an
international parcel from Poland was delivered to P.O. Box 22 on March 19, 2018.
| 9. On March 23, 2018, Agent West, Inspector Miller, and I went to the East Burke,

VT Post Office and spoke with Clerk Rebecca Johnson. Johnson stated that she only saw Tracy
Baker once at the East Burke, VT Post Office,

10. I later received a.call from Postmaster Carmen Riendeau of Orleans, VT Post
Office and was informed that Clerk Imre Bogar reported that on March 22, 2018, a woman
shipped eight parcels with fictitious return addresses. Clerk Bogar identified the return addresses
as fictitious because he was aware the listed streets did not exist in the listed towns. The parcels
were shipped the previous night.

11. On March 26, 2018, Cote emailed me a picture of a parcel addressed to Djeneba
Bent being delivered to PO Box 22. I sent the information to Agent West, who then obtained a
DMV photo of Djeneba Bent. Agent West traveled to Orleans, VT Post Office and showed ‘
Bogar the photo of Djeneba Bent. Bogar informed Agent West that he was 95 percent sure it

was the same female who had mailed the parcels on March 22, 2018.

12, On March 27, 2018, Agent West drove past 3585 Darling Hill Road, East Burke,
VT, and observed the trash at the roadside in a black receptacle, Agent West and I met at the
West Burke Town Office and went to the Lyndonville, VT Post Office and spoke to Clerk Lisa

Smith-Bean. After being shown the picture of Djeneba Bent, Smith-Bean stated that she thought

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Djeneba Bent received international parcels at a PO Box in the past, but now she comes in about

once amonth to mail out parcels.

13. Later that day Agent West and I met with an employee from the West Burke
recycling center. After verifying that the collection bay of the trash collection vehicle was
empty, Agent West accompanied the employee in his trash collection vehicle. I followed behind
the trash collection vehicle in my unmarked Law Enforcement Vehicle (LEV) and witnessed the
employee approach the black trash receptacle in front of the residence at 3585 Darling Hill Road,
East Burke, VT. The employee removed two trash bags from the receptacle and put them in the
empty collection bay of the truck. I then followed the truck approximately half a mile down the
road and took possession of the trash. The trash collection vehicle made no additional stops after
collecting the trash from 3585 Darling Hill Road, East Burke, VT. Agent West then entered my
LEV, and I brought him back to his LEV, located at the West Burke Town Office. I followed
Agent West to the St. Johnsbury, VT State Police (VSP) barracks. Agent West and I examined
the contents of the two thrash bags and discovered, among other items, three rubber gloves, and
three opened shipping envelopes from Spain. One of the three envelopes was addressed to Sam
Bent at P.O. Box 22. A clear plastic baggie containing an unknown white residue was also
discovered. The baggie and residue were transported to the Vermont Forensic Laboratory for
testing.

14, On March 28, 2018, J emailed a photo of Djeneba Bent to Post Office Operation
Manager (POOM) Jerome Reen. I requested Reen disseminate the photo to various Postmasters
in the northern VT area, and to notify me if anyone saw her mailing parcels out of their Post

Offices. In response to my request, I was informed that Djeneba Bent reportedly mailed multiple

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parcels from Littleton, NH; Danville, VT; West Burke, VT; Lower Waterford, VT: Lyndonville,
VT; and St. Johnsbury, VT.

15. Postmaster John Robie, of the Littleton, NH Post Office stated Djeneba Bent was
seen at the Littleton, NH Post Office the same day her picture was emailed out by Reen. She
mailed two Priority Mail boxes and “several” small manila envelopes, She used an address with
an incorrect zip code, and corrected it after the clerk alerted her of the error. She used the return
address of Wayne Switser, 46 Cottage Street, Littleton, NH 03561. She was seen driving a gray

- Honda, RI plate number CN117. The Postmaster emailed me a picture of the parcels which were
shipped, and a picture he took of the license plate of the vehicle used by Djeneba Bent which
matched the one reported by Agent West seen on the Accord at 3585 Darling Hill Road, East

Burke, VT. /

16. On March 29, 2018, I met Agent West at the East Burke, VT Post Office to
conduct an extended border search on two international parcels from Spain for P.O. Box 22. :
Both parcels had stamps originating from Spain, and matched the appearance to the. three opened
envelopes discovered in the trash of the Darling Hill Road residence on March 27,2018. Both
patcels contained two vacuum sealed bags which contained a dark thick substance. The
evidence was secured and transported to the VSP Barracks in Derby, VT. The vacuum sealed
bags from one of the parcels weighed approximately 26.6 grams. It should be noted that the
vacuum sealed bags were marked in ink with “20” and “5”. Sergeant Sean Loan with the VSP
VT Drug Task Force ran multiple field tests on the substance. The substance tested positive for
heroin, and negative for Tetrahydrocannabinol (THC).

17. On March 29, 2018, Clerk Karen Rice of the Danville, Vermont Post Office,

emailed me to report that Djeneba Bent shipped six parcels at the Danville, VI Post Office that

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day. These subject parcels are further described in Attachment A. The return address on all the

parcels was William Currier 462 Railroad St., Saint J obnsbury, VT 05819. This return address
was familiar to law enforcement. According to Agent West, HSI in NY were conducting an
undercover investigation involving the online order and purchase using bitcoin, of approximately
$70 worth of Lysergic Acid Diethylamide (LSD). On March 13, 2018, in response to an order
placed by an undercover HSI agent as part of the investigation, Special Agents (SA) with HSI in
NY seized a mail parcel containing suspected LSD blotter paper tabs. The return address on the
label was William Currier 462 Railroad St., Saint Johnsbury, VT 05819.

18. Agent West contacted the U.S. Postal Service (USPS) Carrier for the route that
includes 462 Railroad Street who explained that he was unsure if a person named Currier lived at
the address. ‘The Carrier explained that 462 Railroad Street is an apartment building, He further
explained that in the past, he has not delivered mail addressed to William Currier at 462 Railroad
Street because of his concems that Currier does not live there.

19. On March 30, 2018, Lyndonville Postal Clerk Smith-Bean reported that Djeneba
Bent shipped two parcels from the Lyndonville, VT Post Office. Inspector Miller retrieved
parcels mailed by Djeneba Bent from Lyndonville, VT: Danville, VT; and West Burke, VT.
Inspector Miller also collected a parcel, which arrived at East Burke, VT Post Office for PO Box
22 in the name Sam Bent. All mentioned parcels are now being held at the Postal Inspection

Service Office, located at 8 New England Drive, Essex Junction, VT 05452,

20. Upon further investigation, it was discovered that at least some of the names and
addresses being used for the return addresses by Djeneba Bent belonged to individuals on the sex

offender registry. It is suspected that the names and addresses of sex offenders are used on the

return address to conceal her identity.

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21. also know from my training and experience the following:

a. Drug traffickers mailing controlled substances frequently use U.S. Postal
Service Priority Mail Express and Priority Mail services to ship unlawful controlled substances,
and the recipients of those unlawful drugs often use U.S. Postal Service Priority Mail Express
and Priority Mail services to ship the proceeds of the illegal sale of controlled substances. These
controlled substances and the proceeds of the illegal sale of controlled substances are often found
during parcel investigations and interdictions.

b. Drug traffickers use U.S. Postal Service Priority Mail Express and Priority
Mail services because of the reliability of delivery, speed of delivery, low cost, the customer’s
ability to track the package’s shipment online; as well as the low risk of detection by law
enforcement. Shippers using Priority Mail Express and Priority Mail services pay for the benefit
of being able to confirm the delivery of the parcel by checking the U.S. Postal Service internet
website or calling a toll free number.

c, Drug traffickers who mail controlled substances, and the drug purchasers
who send payment in the form of cash or other drugs, often use false or incomplete information
in labeling the parcels, as well as dated information. In this way, drug traffickers can distance
themselves from the package containing controlled substances or from the proceeds of the sale of
the controlled substances in the event the package is intercepted by law enforcement. ©

- CONCLUSION

22.  Irespectfully submit that, pursuant to 18 U.S.C. § 3 103a(b), there is “reasonable
cause to believe that providing immediate notification of the execution of the warrant may have
an adverse result.” Providing notice to the anticipated recipients of the Subject Parcels would

seriously jeopardize the ongoing investigation. Depending on the results of the search, law

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enforcement will be considering an undercover delivery of one or more of the packages, and the

possibility of additional search warrants. A disclosure would give subjects of the investigation

an opportunity to destroy evidence, change patterns of behavior, notify co-conspirators, conduct

financial transactions to hide assets, and/or flee from prosecution.

23. It is further requested that the Court authorize execution of this warrant at any
time of day or night, as the Subject Parcels are in law enforcement custody.

24. _ Based on the foregoing, I believe that there is probable cause to search the six
Subject Parcels for evidence or instrumentalities of violations of 21 U.S.C. §§ 841(a)(1) and 846.

Dated at Burlington, in the District of Vermont, this 3" day of April 2018.

Subscribed and sworn to before mé this 3 day of April 2018.

/DENM. CONROY —~
United States Magistrate Judge

ni
District of Vermont

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